        Case 6:17-cv-01174-EFM-GLR Document 1-2 Filed 07/24/17 Page 1 of 3




                              Dodge City Community College
                                                   AREA TECHNICAL SCHOOL
                              -
                          250'1 North 14th Avenue   Dodge City, KS 67801-2399 (620) 225-1321   1-800-FOR-DCCC
                                                                   www.dc3.edu



December l 0, 2016

Student Name: Lyle VanNahmen
Student 10#: 605920
Address: 206 N. Main, Spearville, KS 67876

        This letter is to confinn in writing that you have been placed under temporary sanctions pending a
conduct review hearing due to a reported violation of the Student Code of Conduct (Behavior
Misconduct) on campus. You will be notified as to when your Student Code of Conduct hearing will take
place. This is a fonnal, written warning.

      1. Effective immediately, you have been temporarily trespassed Campus Wide (with
         only one exception noted below in #2). If you are observed on the Dodge City
         Community College (DCCC) campus or at any Dodge City Community College
         sponsored events, our security staff will be called and you may be subject to
         immediate removal from campus and arrested for criminal trespass (pursuant to
         K.S.A. 21-5808 and other applicable statues). Specifically, DCCC security will
         notify law enforcement officers from the Dodge City Police Department or the Ford
         County Sheriff's office that you are violating a trespass sanction and you may be
         subject to immediate arrest for trespass.

      2. You are only permitted to attend your final exam for the A&P I course you are
         currently taking. You may only enter the Science/Math building to complete your
         exam. Your final is scheduled for Monday, December 12, 2016 at 7:00 p.m. to 9:30
         p.m.

        Information regarding this sanction can be found in the Dodge City Community College
Calendar/Handbook (Pg.77-84). If you have any further questions, please call Stephanie Lanning, Dean
of Students at 620-227-9370.

Sincerely,

      ·./ I   '   '
                  •   I   .
                                               j
Stephanie Lanning
Dean of Students
Dodge City Community College

 C:       Glenn l. Kerbs, College Attorney
          Beverly Temaat, VP of Student Services
          Keith Thomas, Chief Judicial Officer
      Case 6:17-cv-01174-EFM-GLR Document 1-2 Filed 07/24/17 Page 2 of 3

DC3 Television is located in the Learning Resource             conviction, 90 days upon a second conviction and one year
Center and telecasts on Dodge City CATV Channel 8.             upon a third or subsequent conviction. Any person, under
Mass Communications students staff the radio and TV            the age of 18 years who possesses, consumes, purchases
stations. Other students and part-time students from the       or attempts to obtain or purchase alcoholic liquor or cereal
area and community are also welcome to take part in the        malt beverages is a juvenile offender under the Kansas
station's programming, provided they are enrolled in a         Juvenile Justice Code and subject to a fine of not less than
RadioffV course.                                               S200 nor more than S500.

CODE OF CONDUCT                                                False Identification
                                                               It is unlawful for any person to display or possess a
Dodge City Community College strives to create an
academic community conducive to the proper functioning         canceled, fictitious or fraudulently altered or fraudulently
                                                               obtained identification card or driver's license.
of the educational process and the development of each
student. To create the atmosphere in which these goals         It is unlawful to lend any driver's license to any
can be pursued, the College maintains disciplinary rules       other person or permit the use of a driver's license or
and regulations. Protecting the functional integrity of        identification card by another person.
the classroom and the campus educational environment           It is unlawful to create or reproduce a driver's license or
is paramount to this endeavor.                                 identification card.
Students are expected to behave in a manner that is            Violation of the above laws is a class B nonperson
conducive to the mission of the College. To accomplish its     misdemeanor and the violator shall be sentenced to
educational mission, members ofthe College community           not less than 100 hours of public service and fined not
aspire to a standard that is higher than mere compliance       less than $200 nor more than
with formalized College regulations and local, state and
                                                               S500. On a second or subsequent conviction a person shall
federal law. Dodge City Community College reserves             be guilty of a class A nonperson misdemeanor and subject
the right to impose disciplinary sanctions for behavioral
                                                               to a fine of S2,500 and/or a jail sentence up to one year.
misconduct that occurs either on campus or off campus.
Except for cases involving the possibility of suspension       Driving Under the Influence (DUI)
or expulsion from the College, informal hearings may           It is unlawful for any person 21 years of age or older
be called at the discretion of the Dean of Students or         to operate or attempt to operate a vehicle in this state
designee for the purpose of fact finding and/or imposing       with a breath or blood alcohol content of .08 or greater.
sanctions for violations ofthe Code of Student Conduct.        (K.S.A. 8-1567)
Such informal hearings may be held at any time and             It is unlawful for any person less than 21 years of age to
require no prior notification.                                 operate or attempt to operate a vehicle in this state with a
                                                               breath or blood alcohol of .02 or greater. (K.S.A. 8-1567a)
REGULATIONS
Alcohol                                                        The penalties for DUI convictions are graduated in
Kansas law prohibits the possession or consumption of          severity with each subsequent conviction. The penalties
any kind of alcohol on community college campuses.             for each conviction may be found in the text of K.S.A.
Dodge City Community College will uphold and enforce           8-1567 and K.S.A. 8-1567a which may be found in
this law. Possession or consumption ofalcoholic or cereal      unedited format at kslegislature.org.
malt beverages is expressly forbidden on all property
                                                               Tobacco Products
of Dodge City Community College or at any College
                                                               As an educational community concerned for the health of
sponsored activity.
                                                               its members, Dodge City Community College supports a
Ifa student is found with alcohol or cereal malt beverages     tobacco-free environment. Use of tobacco products in any
on property of Dodge City Community College or any             building owned or operated by Dodge City Community
College sponsored activity, the student will be placed on      College including the residence halls and athletic facilities
immediate probation. See the Code of Conduct section           is prohibited except as outlined in this policy.
for violation sanctions.
                                                               Use oftobacco products in any vehicle owned or leased by
Drinking Laws - State of Kansas Legal Age                      Dodge City Community College is prohibited. Smoking
No person under the age of21 years shall purchase, obtain,     on campus is prohibited except in designated outside
possess or consume cereal malt beverages or alcoholic          areas. No smoking will be permitted in any area of the
liquor (3.2 percent or 6 percent beer, wine or hard liquor).   Residence Halls. Smoking will be permitted in designated
                                                               areas outside of the residence halls.
Penaltles for Vlolatlons
                                                               "Tobacco products" include cigarettes, e-cigs, cigars, pipes,
Violation of the laws concerning the possession,
                                                               or any other lighted smoking equipment, chewing tobacco,
consumption, purchase or attempt to obtain or purchase
                                                               or snuff (smokeless tobacco).
alcoholic liquor or cereal malt beverages by a person
18 or more years of age but less than 21 years of age          Disposal of tobacco products shall be in designated
is a class C misdemeanor for which the minimum fine            receptacles located outside the buildings on the Dodge
is S200. Further, the court is required to suspend the         City Community College campus.
driving privileges of the offenders for 30 days upon a first

                                                                                                                       77
         Case 6:17-cv-01174-EFM-GLR Document 1-2 Filed 07/24/17 Page 3 of 3

Illegal Drugs                                                    educational and social activities and facilities free from
Dodge City Community College supports the enforcement            harassment or intimidation on the basis of their gender,
of state and federal laws on controlled substances.              race, religion, or national origin. A student may be directed
Possession, use or distribution of narcotics or any other        to desist from behavior which, in the opinion of a College
controlled substances is expressly prohibited.                   official is intended to, or has the effect of, subjecting a
Dodge City Community College has a zero tolerance                fellow student to this type ofharassment or intimidation.
policy for the possession, use or distribution of illegal        A student who persists in this behavior after being so
drugs. If a controlled substance (illegal drug) is found on      directed may be subject to disciplinary action.
College prope1iy or at a College sponsored event, law            Sexual Misconduct
enforcement will be notified and action taken pursuant           Purpose
to the Code of Conduct.
                                                                 Dodge City Community College is committed to
Dodge City Community College complies with the                   providing a productive living and learning community
regulations and provisions ofthe Drug-Free Schools and           in which students can pursue their educational goals.
Campuses Act.                                                    Sexual misconduct undermines this commitment and
                                                                 affects the ability of students to focus on their educational
Penalties for Violations
                                                                 goals. Therefore, Dodge City Community College will
K.S.A. 65-4160. Except as authorized by the uniform
                                                                 not tolerate nor condone any form of sexual misconduct,
controlled substance act, it is unlawful for any person to
                                                                 whether physical, mental, or emotional in nature.
possess or have under such person's control any opiates or
narcotic drugs, or any stimulant designated in subsection        Where there is sufficient information/evidence to believe
(d)(l), (d)(3) or (f)(l) K.S.A. 65-4107. A person violating      that the College's policies prohibiting sexual misconduct
this statutory provision shall be guilty of a drug severity      have been violated, the College will pursue strong
level 4 felony. If any person who violates this statutory        disciplinary action through its own student conduct system.
provision has one prior conviction, then such person             Even if law enforcement and criminal justice authorities
shall be guilty of a drug severity level 2 felony. Two or        choose not to prosecute a particular incident, the College
more prior convictions will result in a drug severity level      may still pursue the incident as a student misconduct
1 felony.                                                        matter. Where it is determined that sexual misconduct
                                                                 is more likely than not to have occurred based upon
K.S.A. 65-4162. Except as authorized by the uniform
controlled substances act, it is unlawful for any person to      a preponderance of the evidence, College disciplinary
                                                                 sanctions may include suspension, expulsion or any other
possess or have under such person's control any depressant,
stimulant or hallucinogenic drug (as defined in K.S.A.           sanction noted in the Student Code of Conduct.
65-4105, 65-4107 or 65-4109). This includes substances           Definitions
commonly known as marijuana and methamphetamine.                 Due to the sensitive and sometimes violent nature of
A person violating this statutory provision shall be guilty      incidents involving sexual misconduct the following
of a class A nonperson misdemeanor. If any person who            definitions are provided for informational use by students
violates this statutory provision has a prior conviction,        and for guidance in the investigation and processing of
then such person, shall be guilty of a drug severity level       alleged violations. It is possible that a particular action
4felony.                                                         may constitute sexual misconduct even if not specifically
K.S.A. 65-4164. Except as authorized by the uniform              mentioned in these examples:
controlled substances act, it is unlawful for any person         Sexual Misconduct includes any sexual act that occurs
to possess , have under such person's control, prescribe ,       without the effective consent of the other party and
administer, deliver, distribute, dispense, compound, sell,       includes the following:
offer for sale or have in such person's possession with
                                                                  1. Sexual intercourse (vaginal, anal or oral penetration)
intent to sell, deliver or distribute any controlled substance
designated in K.S.A. 65-4113. A person violating this                • however slight
statutory provision shall be guilty of a class A nonperson           • with any object
misdemeanor, except such person shall be guilty of a drug            • by a male or female whether an acquaintance or a
severity level 4 felony if the substance was prescribed                stranger
for or administered, delivered, distributed, dispersed,              • without effective consent
sold, offered for sale or possessed with intent to sell to a      2. Other sexual contact
child under 18 years of age. The full text of all statutory          • attempted or actual touching
provisions cited herein can be found in unedited format              • of the genitalia, buttocks, breast, or clothing
at kslegislature.org.                                                   covering same
                                                                     • withouteffectiveconsent
Behavior Misconduct                                               3. Effective Consent is:
Students are not to exhibit behavior that threatens any              • informed;
person, harms, or causes to place in harm, any person,               • freely and actively given;
or to conduct themselves in a lewd, indecent, obscene,               • mutually understandable words or actions;
offensive, or disorderly manner. The College is committed            • which indicate a willingness to participate in
to the principle that all students may use and enjoy its                mutually agreed upon sexual activity.

78
